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     Attorney for Defendant GAMALIEL VILLEGAS
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 8
                         UNITED STATES DISTRICT COURT
 9
                  FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                    )      Case No. 1:11CR00413 AWI
12
13                                   )
                    Petitioner,      )                   STIPULATION TO CONTINUE
14                                   )                   SENTENCING HEARING
15        vs.                        )
                                     )
16
     GAMALIEL VILLEGAS,              )                   Original Date:     12/17/2012
17                                   )                   Requested Date:    01/28/2013
                                     )
18
                    Defendant.       )
19   _______________________________ )
20
21   IT IS HEREBY STIPULATED by and between the parties that the sentencing in the

22   above entitled case be continued from the original date of December 17, 2012 at
23
     10:00 am to a new date of January 28, 2013 at 10:00 am. The basis for this
24
25   stipulation is that defense counsel sent out informal objections on November 16,
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     2012, however they were never received by the probation officer. Defense counsel
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28
     has sent via email the informal objections to the probation officer and has had

                             Stipulation to continue sentencing hearing
                            United States of America v. Gamaliel Villegas
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 1   discussions regarding those objections. Defense counsel and probation need
 2
     additional time to discuss the objections and to possibly file and respond to formal
 3
 4   objections.
 5
     DATED: December 6, 2012
 6
                                                                         /s/
 7
                                                                 KIMBERLY SANCHEZ
 8                                                               AUSA
 9
10                                                                            /s/
11                                                               STEVEN L. CRAWFORD
                                                                 Attorney for GAMALIEL VILLEGAS
12
13
14   IT IS SO ORDERED.
15
     Dated: December 6, 2012
16                                                          UNITED STATES DISTRICT JUDGE
     DEAC_Signature-END:




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                                              Stipulation to continue sentencing hearing
                                             United States of America v. Gamaliel Villegas
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